            Case 4:07-cv-05944-JST Document 1199-1 Filed 05/18/12 Page 1 of 3




 1   Mario N. Alioto (56433)
     Lauren C. Russell (241151)
 2   TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
     2280 Union Street
 3   San Francisco, CA 94123
     Telephone:    (415) 563-7200
 4   Facsimile:    (415) 346-0679
     malioto@tatp.com
 5   laurenrussell@tatp.com
 6   Interim Lead Counsel for Indirect-Purchaser Plaintiffs
 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                    SAN FRANCISCO DIVISION
11

12   IN RE: CATHODE RAY TUBE (CRT)
     ANTITRUST LITIGATION                          Master File No. CV-07-5944-SC
13
                                                   MDL No. 1917
14
                                                   DECLARATION OF CHRISTOPHER T.
15   This Document Relates to:                     MICHELETTI IN SUPPORT OF INDIRECT
                                                   PURCHASER PLAINTIFFS’ MOTION FOR
16   ALL INDIRECT-PURCHASER ACTIONS                AN ORDER TO SHOW CAUSE REGARDING
                                                   FINDING OF CIVIL CONTEMPT AND
17                                                 AWARD OF SANCTIONS AGAINST
                                                   OBJECTOR SEAN HULL
18
                                                   Date: July 9, 2012
19                                                 Time: 10:00 AM
20                                                 Location: JAMS: Two Embarcadero Center, Suite
                                                   1500
21                                                 Judge: Hon. Samuel Conti
                                                   Special Master: Hon. Charles A. Legge (Ret.)
22

23

24

25

26

27

28
       DECLARATION OF CHRISTOPHER T. MICHELETTI IN SUPPORT OF MOTION FOR AN ORDER TO
      SHOW CAUSE REGARDING FINDING OF CIVIL CONTEMPT AND AWARD OF SANCTIONS AGAINST
                 OBJECTOR SEAN HULL - Master File No. CV-07-5944-SC, MDL No. 1917
             Case 4:07-cv-05944-JST Document 1199-1 Filed 05/18/12 Page 2 of 3




 11          I, Christopher T. Micheletti, declare:

 22          1.      I am a member in good standing of the State Bar of California and am a member of

 33   the firm Zelle Hofmann Voelbel & Mason LLP, one of the firms representing the Indirect

 44   Purchaser Plaintiffs (“IP Plaintiffs”) in this case. I am duly licensed to practice before the Supreme

 55   Court of the State of California and all other inferior courts of this State. I am admitted to practice

 66   before the United States Supreme Court, the Court of Appeals for the Sixth, Seventh and Ninth

 77   Circuits, and the Federal District Court for the Northern District of California. This Declaration is

 88   based on personal knowledge, and if called to testify, I could and would do so competently as to the

 99   matters set forth herein. I submit this declaration in support of Indirect Purchaser Plaintiffs’

10
10    Motion for an Order to Show Cause Regarding Finding of Civil Contempt and Award of Sanctions

11
11    Against Objector Sean Hull.

12
12           2.      On April 16, 2012, shortly after the entry on the same day of the Court’s Order

13
13    Granting Indirect Purchaser Plaintiffs’ Motion to Compel Discovery from Objector Sean Hull (the

14
14    “Order”), I served Hull with a copy of the Order by email to the email address listed on his

15
15    objection. Hull has used the same email address to communicate with IP Plaintiffs Counsel on

16
16    numerous other occasions. Attached hereto as Exhibit 1 is a true and correct copy of the email I

17
17    sent to Hull. In addition, Hull was sent a copy of the Order via overnight FedEx to the mailing

18
18    address listed on Hull’s objection letter. Attached hereto as Exhibit 2 is a true and correct copy of

19
19    the Certificate of Service, which was filed with the Court on April 17, 2012 (ECF No. 1157), and

20
20    verifies that Hull was served with copies of the Court’s Order by the aforementioned methods.

21
21           3.      By April 26, Hull had not responded to my request for a deposition date. As a

22
22    result, on that day, I sent him a written letter via FedEx to the mailing address listed on his

23
23    objection. A true and correct copy of this letter is attached hereto as Exhibit 3.

24
24           4.      As of the date of this declaration, Hull has still not responded to any of my

25
25    communications to him, nor has he made himself available for a deposition by May 11, 2012 as

26
26    required by the Court’s Order.

27
27

28
28                                                      1
        DECLARATION OF CHRISTOPHER T. MICHELETTI IN SUPPORT OF MOTION FOR AN ORDER TO
       SHOW CAUSE REGARDING FINDING OF CIVIL CONTEMPT AND AWARD OF SANCTIONS AGAINST
                  OBJECTOR SEAN HULL - Master File No. CV-07-5944-SC, MDL No. 1917
             Case 4:07-cv-05944-JST Document 1199-1 Filed 05/18/12 Page 3 of 3




 11          5.      I and an associate at our firm have devoted well over ten hours in preparation of

 22   communications with Hull in an effort to obtain his compliance with this Order and in preparation

 33   of this motion to enforce the Court’s Order. Our fees for such work significantly exceed $5,000. I

 44   have also devoted well over ten additional hours of work in connection with pursuing this

 55   discovery from Hull, including on preparation and service of subpoenas, preparation of

 66   communications with Hull in an effort to obtain the requested discovery and compliance with the

 77   subpoenas, and preparation of the motion to compel. My fees for this work significantly exceed

 88   $5,000. We also incurred costs in the amount of $1,166.95 for me to travel to Denver for the

 99   deposition of Hull noticed for March 6, 2012 pursuant to a subpoena served on Hull, but for which

10
10    Hull failed to appear. Attached hereto as Exhibit 4 are true and correct copies of invoices reflecting

11
11    these travel costs. Attached hereto as Exhibit 5 is the transcript of the March 6 deposition,

12
12    evidencing Hull’s failure to appear at that deposition.

13
13           I declare under penalty of perjury pursuant to the laws of the State of California that the

14
14    foregoing statements of fact are true and correct.

15
15           Executed this 18th day of May, 2012 in San Francisco, California.

16
16

17
17                                                          /s/ Christopher T. Micheletti
                                                            Christopher T. Micheletti
18
18

19
19

20
20

21
21

22
22

23
23

24
24

25
25

26
26

27
27

28
28                                                     2
        DECLARATION OF CHRISTOPHER T. MICHELETTI IN SUPPORT OF MOTION FOR AN ORDER TO
       SHOW CAUSE REGARDING FINDING OF CIVIL CONTEMPT AND AWARD OF SANCTIONS AGAINST
                  OBJECTOR SEAN HULL - Master File No. CV-07-5944-SC, MDL No. 1917
